              Case 2:25-cr-00020-TL         Document 1    Filed 10/04/24     Page 1 of 8




                                                             Magistrate Judge Brian A. Tsuchida
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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
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10
     UNITED STATES OF AMERICA,                            CASE NO.         MJ24-641
11
                               Plaintiff
12
                                                          COMPLAINT for VIOLATION
13
                        v.
14                                                        18 U.S.C. Section 922(g)(1)
     DARRELL EDWARD WILSON,
15
                               Defendant.
16
17
18          BEFORE, the Honorable Brian A. Tsuchida, United States Magistrate Judge,

19 United States Courthouse, Seattle, Washington.
20       The undersigned complainant being duly sworn states:

21                                              COUNT 1
22                                  (Unlawful Possession of a Firearm)

23          On or about August 15, 2024, in King County, within the Western District of

24 Washington, DARRELL EDWARD WILSON, knowing he had been convicted of the
   following crimes punishable by a term of imprisonment exceeding one year:
25
26
27
     Complaint - 1                                                   UNITED STATES ATTORNEY
     United States v. Wilson                                        700 STEWART STREET, SUITE 5220
     USAO No. 2024R01086                                              SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
                  Case 2:25-cr-00020-TL    Document 1     Filed 10/04/24     Page 2 of 8




             a. Unlawful Possession of a Firearm in the Second Degree, in King
 1
                County Superior Court, under cause number 16-1-07737-1 KNT, dated
 2              on or about August 18, 2017;
 3           b. Forgery, in Pierce County Superior Court, under cause number 18-1-
                04780-5, dated on or about April 11, 2019;
 4
             c. Assault in the Third Degree, in Pierce County Superior Court, under
 5              cause number 18-1-04780-5, dated on or about April 11, 2019; and
 6           d. Bail Jumping, in King County Superior Court, under cause number 18-
                1-01226-7 KNT, dated on or about September 27, 2019;
 7
             did knowingly possess, in and affecting interstate and foreign commerce, a
 8
     firearm, that is: a .45 caliber Ruger P90 handgun, which had been shipped and
 9
     transported in interstate and foreign commerce.
10
             All in violation of Title 18, United States Code, Section 922(g)(1).
11
             And the complainant states that this Complaint is based on the following
12
     information:
13
             I, Nathan Petrulak, being first duly sworn on oath, depose and say:
14
                                          INTRODUCTION
15
             1.       I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms,
16
     and Explosives (ATF) and have been so employed since March 6, 2018. I am an
17
     investigative or law enforcement officer of the United States within the meaning of
18
     Title 18, United States Code, Section 2510(7), that is, an officer of the United States who
19
     is empowered by law to conduct investigations of, and to make arrests for, offenses
20
     enumerated in Title 18, United States Code, Section 2516. I am currently assigned to the
21
     Seattle Field Division in Seattle, Washington where I am assigned to the Seattle Field
22
     Office.
23
             2.       I received formal training in the Federal Law Enforcement Training Center
24
     in Glynco, Georgia, Criminal Investigators Training Program, which familiarized me
25
     with basic narcotic investigations, drug identification and detection, United States
26
     narcotics laws, financial investigations and money laundering, identification and seizure
27
      Complaint - 2                                                   UNITED STATES ATTORNEY
      United States v. Wilson                                        700 STEWART STREET, SUITE 5220
      USAO No. 2024R01086                                              SEATTLE, WASHINGTON 98101
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                 Case 2:25-cr-00020-TL     Document 1     Filed 10/04/24     Page 3 of 8




 1 of drug-related assets, organized crime investigations, physical and electronic
 2 surveillance, and undercover operations. In addition, I successfully completed a fifteen-
 3 week ATF Special Agent Basic Training course in Glynco, Georgia, which included
 4 comprehensive, formalized instruction in, among other things: firearms identification,
 5 firearms trafficking, arson and explosives, and tobacco and alcohol diversion. I am a
 6 graduate of Point Park University where I obtained a Masters degree in Business
 7 Administration in 2014. Additionally, I am a graduate of the University of Pittsburgh
 8 where I received a Bachelor of Science in Biological Sciences in 2010.
 9          3.       As noted above, I am responsible for investigations involving specified
10 unlawful activities, to include violent crimes involving firearms that occur in the Western
11 District of Washington. I am also responsible for enforcing federal firearms and
12 explosives laws and related statutes in the Western District of Washington. I received
13 training on the proper investigative techniques for these violations, including the
14 identification of firearms and the location of the firearms manufacture. I have actively
15 participated in investigations of criminal activity, including but not limited to crimes
16 against persons, crimes against property, narcotics-related crimes, and crimes involving
17 the possession and use, theft, or transfer of firearms. During these investigations, I have
18 also participated in the execution of search warrants and the seizure of evidence
19 indicating the commission of criminal violations.
20           4.      The facts set forth in this Affidavit are based on my own personal
21   knowledge; knowledge obtained from other individuals during my participation in this
22   investigation, including other law enforcement officers; the review of documents and
23   records related to this investigation; communications with others who have personal
24   knowledge of the events and circumstances described herein; and information gained
25   through my training and experience.
26
27
     Complaint - 3                                                    UNITED STATES ATTORNEY
     United States v. Wilson                                         700 STEWART STREET, SUITE 5220
     USAO No. 2024R01086                                               SEATTLE, WASHINGTON 98101
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                 Case 2:25-cr-00020-TL     Document 1      Filed 10/04/24    Page 4 of 8




 1          5.       Because this Affidavit is submitted for the limited purpose of establishing
 2 probable cause in support of a criminal complaint, it does not set forth each and every
 3 fact that I, or others, have learned during the course of this investigation.
 4                             SUMMARY OF PROBABLE CAUSE
 5 A.       DARRELL EDWARD WILSONs Criminal History
 6          6.       I have reviewed court and law enforcement records related to DARRELL
 7 EDWARD WILSONs criminal history. I have determined that WILSON has been
 8 convicted of multiple felonies including, Unlawful Possession of a Firearm in the Second
 9 Degree, in King County Superior Court, under cause number 16-1-07737-1 KNT, dated
10 on or about August 18, 2017; Forgery, in Pierce County Superior Court, under cause
11 number 18-1-04780-5, dated on or about April 11, 2019; Assault in the Third Degree, in
12 Pierce County Superior Court, under cause number 18-1-04780-5, dated on or about
13 April 11, 2019; and Bail Jumping, in King County Superior Court, under cause number
14 18-1-01226-7 KNT, dated on or about September 27, 2019.
15 B.       WILSONs Arrest
16          7.       On August 15, 2024, at about 8:05 in the morning, Kent Police Department
17 Officer Wong was on routine patrol when he observed a white sedan parked in the bike
18 lane near the intersection of South 259th Place and Military Road South, in King County,
19 within the Western District of Washington.
20          8.       Officer Wong pulled his marked patrol car behind the white sedan. As
21 Officer Wong approached the sedan, he saw it was occupied by only the driver, later
22 identified as DARRELL EDWARD WILSON, who appeared to be asleep in an unnatural
23 position. Officer Wong recognized the sedans engine was on, and he could feel warmth
24 coming from the exhaust of the vehicle.
25          9.       Officer Wongs colleague, Officer Holloman, arrived on scene and
26 observed WILSONs sleeping position too. Officer Holloman observed a plastic straw on
27 the floorboard of the vehicle, which he recognized as a tooter, a device commonly used
     Complaint - 4                                                    UNITED STATES ATTORNEY
     United States v. Wilson                                         700 STEWART STREET, SUITE 5220
     USAO No. 2024R01086                                               SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
              Case 2:25-cr-00020-TL       Document 1      Filed 10/04/24     Page 5 of 8




 1 to smoke controlled substances. The officers believed WILSON may have been under the
 2 influence of a substance.
 3          10.     According to Department of Licensing (DOL) information, the sedan was
 4 registered to WILSON. Dispatch provided a DOL photograph of WILSON to the patrol
 5 officers, which the officers used to identify the driver as WILSON.
 6          11.     Based on the position of the vehicle, which was still running, and their
 7 observations of WILSON as well as the presence of a device used to consume controlled
 8 substances, WILSON was placed under arrest for Physical Control of a Motor Vehicle
 9 while Under the Influence.
10          12.     As officers were removing WILSON from the drivers seat, Officer Wong
11 observed a part of what appeared to be a pistol under the drivers seat.
12          13.     Officers advised WILSON of his constitutional rights, which he stated he
13 understood. WILSON agreed to speak with Officer Holloman. WILSON said he had just
14 smoked fentanyl and methamphetamine after he parked his vehicle on the side of the
15 road. He said he did not know how long he had been parked there. WILSON also said he
16 was a felon and that he knew he was not allowed to possess firearms, but he possessed
17 the firearm for his protection. He further said he purchased the firearm off the street.
18          14.     An officer applied for a search warrant to search the sedan WILSON was
19 found in for narcotics and the firearm. A King County Superior Court judge approved the
20 search warrant on August 16, 2024.
21          15.     Upon serving the warrant on the sedan, officers recovered about 500 blue
22 pills, suspected to contain fentanyl; about 16 grams of suspected methamphetamine,
23 which was field tested and presumptively positive for methamphetamine; about 12 grams
24 of suspected cocaine, which was field tested and presumptively positive for cocaine,
25 empty plastic baggies, a small scale, and a .45 caliber Ruger P90. The Ruger had a round
26 chambered with additional rounds in the attached magazine. A photograph of the Ruger is
27 pasted below.
     Complaint - 5                                                    UNITED STATES ATTORNEY
     United States v. Wilson                                         700 STEWART STREET, SUITE 5220
     USAO No. 2024R01086                                               SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
              Case 2:25-cr-00020-TL       Document 1     Filed 10/04/24     Page 6 of 8




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10          16.     While completing the search of the sedan, officers also located a Kevlar
11 body armor vest in the sedans trunk. Written on the vest were various words including
12 Ready 4 War, Two Guns! I Wont [sic] Miss! and LOCC, which I know from my
13 training and experience is a reference to a high-ranking Crip gang member. A photograph
14 of the body armor vest is pasted below.
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     Complaint - 6                                                   UNITED STATES ATTORNEY
     United States v. Wilson                                        700 STEWART STREET, SUITE 5220
     USAO No. 2024R01086                                              SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
                 Case 2:25-cr-00020-TL    Document 1      Filed 10/04/24    Page 7 of 8




 1          17.      Officers also located what appeared to be five apparent improvised
 2 explosive devices. An addendum to the initial search warrant was obtained, authorizing
 3 seizure of these items as well. Bureau of Alcohol, Tobacco, Firearms, and Explosives
 4 agents were called to render the apparent improvised explosive devices safe.
 5          18.      On or about October 4, 2024, ATF SA Kit Radosevich, a certified Interstate
 6 Firearms and Ammunition Nexus Expert, who has been trained in the recognition of
 7 firearms and ammunition and their origin of manufacture, examined photographs of the
 8 handgun removed from WILSONs vehicle on August 15, 2024. SA Radosevich
 9 provided a preliminary determination that the handgun was not manufactured in
10 Washington State. Based upon her experience, knowledge, and research, she opined that
11 the handgun recovered from WILSONs vehicle on August 15, 2024, meets the definition
12 of a firearm under Title 18, United States Code, Section 921(a)(3). Furthermore, it is SA
13 Radosevichs opinion that, because the handgun was not manufactured in Washington
14 State, it therefore must have traveled in, and thereby affected, interstate commerce if it
15 was received or possessed in Washington State.
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     Complaint - 7                                                   UNITED STATES ATTORNEY
     United States v. Wilson                                        700 STEWART STREET, SUITE 5220
     USAO No. 2024R01086                                              SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
               Case 2:25-cr-00020-TL       Document 1      Filed 10/04/24    Page 8 of 8




 1            19.    Based on the foregoing, I respectfully submit that there is probable cause to
 2   believe that DARRELL EDWARD WILSON committed the offense alleged in this
 3   Complaint.
 4
 5                                                      Nathan Petrulak, Complainant,
 6                                                      Special Agent, ATF

 7
 8
             The above-named Special Agent provided a sworn statement attesting to the truth
 9
     of the contents of the foregoing affidavit by telephone on this 4th day of October, 2024.
10 Based on the Complaint and the sworn statement, the Court hereby finds that there is
11 probable cause to believe the Defendant committed the offenses set forth in the
12 Complaint.
13           Dated this 4th day of October, 2024.
14
15
16
                                                 THE HONORABLE BRIAN A. TSUCHIDA
17                                               United States Magistrate Judge
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      Complaint - 8                                                   UNITED STATES ATTORNEY
      United States v. Wilson                                        700 STEWART STREET, SUITE 5220
      USAO No. 2024R01086                                              SEATTLE, WASHINGTON 98101
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